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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 13-22500-CIV-ALTONAGA/McALILEY

      JONATHAN LORD, M.D.,

              Plaintiff,

      v.

      UNIVERSITY OF MIAMI,

            Defendant.
      ______________________________________/

                     DEFENDANT’S MEMORANDUM IN OPPOSITION TO
           PLAINTIFF’S SUGGESTION THAT DEFENDANT HAS “OPENED THE DOOR”

             Defendant, University of Miami (the “University”), hereby responds to the Trial Brief

  (D.E. 212) filed by Plaintiff, in which Plaintiff argues that he should be permitted to (1) illicit

  testimony from Dr. Jennifer McCafferty-Fernandez regarding the University’s alleged retaliation

  against her and (2) introduce evidence regarding the government’s investigation into this matter

  and the later settlement of the False Claims Act claims. Neither of Plaintiff’s requests is supported

  by the evidence or applicable law.

             To begin, there is absolutely no evidence that the University retaliated against Dr.

  McCafferty-Fernandez. In November 2013 - - approximately 11 months after Dr. McCafferty-

  Fernandez drafted and circulated her memorandum summarizing TMG’s preliminary findings - -

  Dr. McCafferty-Fernandez was reassigned from her role as Chief Medical Compliance Officer to

  the role of Assistant Provost. 1 In her deposition, Dr. McCafferty-Fernandez expressly was asked



  1
         Dr. McCafferty-Fernandez testified that, when she was hired by the University in 2007,
  she considered both a compliance position and a provost/academic position. In fact, she was
  working in the Provost’s Office when Plaintiff appointed her as Chief Medical Compliance Officer
  in March 2012.
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  by Plaintiff’s counsel whether her reassignment was a “promotion or a demotion.” (D.E. 140-13,

  McCafferty Depo. 169:6-11.) She responded that it was a significant scope change, which she

  characterized as a “lateral move.” (Id.) Given the opportunity to call the reassignment a demotion,

  she chose not to do so. Dr. McCafferty-Fernandez’s salary, benefits and seniority were not changed

  or negatively impacted. In sum, the suggestion that Dr. McCafferty-Fernandez was retaliated

  against simply is unsupported.

         Further, there is no dispute that Dr. McCafferty-Fernandez was reassigned because of the

  University’s determination that she displayed poor judgment by meeting with representatives from

  the U.S. Attorney’s Office without first advising the University that she had been contacted by that

  Office and, instead, engaging private counsel for herself (again, without the University’s

  knowledge). During trial (at approximately 4:35 p.m. on September 23, 2022), Dr. McCafferty-

  Fernandez testified that the University has a policy requiring employees to notify the University

  (e.g., General Counsel’s Office) when contacted by the government about something related to the

  University and/or their work. She explained that Dr. Phillip Ruiz was reassigned because of a

  violation of this policy. Given that Dr. McCafferty-Fernandez admittedly violated this policy, any

  suggestion of retaliation is unfounded. See Garcia v. DS Waters of Am., Inc., 372 Fed. Appx. 925,

  927 (11th Cir. 2010) (“Because [the plaintiff] has admitted in his deposition that at least two of the

  legitimate non-discriminatory reasons for firing him were accurate, he has failed to rebut [the

  defendant’s] nondiscriminatory reason.”); Rose v. Wal-Mart Stores E., Inc., 631 Fed. Appx. 796,

  799 (11th Cir. 2015) (where employee admits to having engaged in some misconduct, he cannot

  prove pretext).

          Not only is the suggestion that Dr. McCafferty-Fernandez was the victim of retaliation not

  supported factually, it also is not supported legally. Plaintiff appears to want to rely on Dr.



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  McCafferty-Fernandez’s reassignment as “me too” evidence demonstrating the University’s

  propensity to retaliate. But that argument ignores the fact that President Shalala (the decisionmaker

  with respect to Plaintiff’s termination) was not involved with the decision to reassign Dr.

  McCafferty-Fernandez. “[E]vidence of discrimination perpetrated by anyone other than [President

  Shalala], the decision-maker, is irrelevant.” Hughes v. City of Lake City, No. 3:12-CV-158-J-

  32JBT, 2015 WL 846543, at *3 (M.D. Fla. Feb. 26, 2015) (citing Jackson v. United Parcel Serv.,

  Inc., 593 Fed. Appx. 871, 877 (11th Cir. 2014) (finding irrelevant any evidence of “me too”

  complaints of discrimination and retaliation committed by a former supervisor, since they did not

  bear on the intent of the relevant decision-maker)). That is in accord with long-standing precedent

  that, in a retaliation case, “reality as it exists outside of the decision maker's head” is irrelevant.

  Giraldo v. Miami Dade Coll., 739 Fed. Appx. 572, 574 (11th Cir. 2018) (quoting Alvarez v. Royal

  Atlantic Developers, 610 F.3d 1253, 1266 (11th Cir. 2010)). Without President Shalala’s

  involvement in Dr. McCafferty-Fernandez’s reassignment, the proffered evidence has no probative

  value in showing her alleged propensity to retaliate.

         In any event, the alleged “me too” evidence actually supports the University’s position.

  Other employees (like Dean Goldschmidt and Dr. McCafferty-Fernandez) shared the same TMG

  preliminary findings with President Shalala - - in writing - - at the same time as Plaintiff but were

  not terminated. Said another way, if President Shalala had retaliatory animus, every employee who

  raised these concerns to her would have been fired. That Plaintiff’s supervisor (Dean Goldschmidt)

  and subordinate (Dr. McCafferty-Fernandez) remained employed for engaging in the same alleged

  protected activity as Plaintiff undermines any claim of retaliation. See Hamza v. Saks Fifth Ave.,

  Inc., No. 07 CIV. 5974 (FPS), 2012 WL 13036200, at *6 (S.D.N.Y. Sept. 26, 2012) (“if others

  who engaged in the same protected activity are not met with similar adverse employment actions,



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  such evidence is highly probative of non-retaliatory motivation”) (citing Leibowitz v. Cornell

  Univ., 584 F.3d 487, 502 (2d Cir. 2009)), aff’d, 533 Fed. Appx. 34 (2d Cir. 2013). 2

         In sum, Plaintiff will not suffer any prejudice by excluding evidence regarding Dr.

  McCafferty-Fernandez’s lateral reassignment, as the evidence is not probative of any issue in this

  case. By contrast, the University will be unfairly prejudiced, as it would open the door to the very

  issues that the Court previously and properly excluded pre-trial: evidence regarding the

  government’s investigation into Plaintiff’s FCA claims and the settlement of those claims. That

  settlement - - which was finalized years after Plaintiff separated from the University - - occurred

  with an express disclaimer of liability by the University. (D.E. 95-1 at 4.) As the Court’s Order on

  the parties’ cross-motions in limine makes clear:

                 Defendant’s Motion to exclude mention of Plaintiff’s underlying qui
                 tam claims, the Government’s investigation of those claims, and the
                 ultimate settlement of those claims is GRANTED in part and
                 DENIED in part. The parties shall confer and then present to the
                 Court a reason for the nine-year delay in this case and the seal that
                 will be offered to the jury. No further mention of the Government’s
                 investigation and settlement of the qui tam lawsuit — other than
                 references to the case being sealed and its effect on Plaintiff’s
                 deposition answers in his divorce case — may be offered to the
                 jury unless Defendant opens the door.

  (D.E. 176 at 1-2) (emphasis added). The University has not opened the door and, instead, has

  exercised extreme care and caution in not doing so. Contrary to Plaintiff’s arguments in his Trial

  Brief, the University carefully has respected the Court’s pre-trial ruling and not elicited any

  evidence/testimony regarding the results of the assessment conducted by Compliance Concepts



  2
           Similarly, the fact that other high-ranking officials (like Dr. Sheri Keitz, Lee Phillips and
  Nelson Weichold) were terminated/demoted around the same time as Plaintiff but had no
  involvement with the TMG assessment further supports the University’s legitimate, non-pretextual
  justification for terminating Plaintiff. The evidence clearly shows that, in response to faculty
  outcry, the University made significant changes to leadership having nothing to do with
  discrimination/retaliation.
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  (the independent third-party reviewer that was engaged by the University after the TMG

  assessment was transferred to Internal Audit).

         The results of the Compliance Concepts assessment demonstrated that the University had

  not engaged in any improper billing and that the allegations against the IML were unfounded.

  However, the University understands that bringing forth this information would “open the door”

  to Plaintiff introducing evidence of the subsequent government investigation/settlement (in which,

  without admitting liability, the University agreed to pay $22 million to resolve those claims, see

  D.E. 95-1 at 4). Accordingly, the University carefully has avoided that subject area. The

  University, however, should be able to rebut Plaintiff’s demonstrably-false accusation that the

  decision to transfer oversight of the assessment to Internal Audit was part of an effort to “sweep it

  under the rug” by describing the function of Internal Audit and noting that Internal Audit decided

  not to continue the assessment by TMG and immediately engaged an independent third party to

  continue the review. Said another way, there is a substantial difference between reporting the

  results of the Compliance Concepts review (which were not released until July 2013,

  approximately six-to-seven months after the termination decision at issue) 3 and simply mentioning

  that another company was hired in early 2013 to continue the review (a decision that was made in

  the same timeframe as the termination decision at issue).

         It is somewhat ironic for Plaintiff to accuse the University of “opening the door” when

  Plaintiff is the only party to have violated the Court’s pre-trial ruling by discussing matters

  expressly excluded by the Court. Plaintiff gratuitously and improperly testified about the




  3
         That was the topic of discussion during the Pre-Trial Conference, at which the Court ruled
  on the University’s motion in limine. (D.E. 212-1 at 9.)
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  involvement of the U.S. Attorneys’ office in this matter. 4 Given that it is Plaintiff - - not the

  University - - who has opened the door, evidence regarding the government’s investigation and

  the settlement should remain excluded from trial.

                                               Respectfully submitted,

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  4
         The University immediately moved to strike the testimony and for a mistrial. The Court
  granted the former motion and denied the latter motion.
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

  CM/ECF this 26th day of September, 2022, upon the following:

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